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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL A. LEE,                    :
    Petitioner                     :
                                   :            No. 1:21-cv-1502
     v.                            :
                                   :            (Judge Rambo)
E. BRADLEY,                        :
     Respondent                    :

                               ORDER

     AND NOW, on this 3rd day of November 2021, in accordance with the

Memorandum accompanying this Order, IT IS ORDERED THAT:

     1. Petitioner’s petition for a writ of habeas corpus pursuant to 28 U.S.C.
        § 2241 (Doc. No. 1) is DENIED; and

     2. The Clerk of Court is directed to CLOSE the above-captioned case.



                                   s/ Sylvia H. Rambo
                                   United States District Judge
